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                          UNITED STATES DISCTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


HUMAN RIGHTS DEFENSE CENTER             )
1028 N. Federal Highway                 )
Lake Worth Beach, FL 33460              )
                                        )
              Plaintiff,                )
                                        )
      v.                                )                         Civil Action
                                        )                         No.
UNITED STATES PARK POLICE               )
1100 Ohio Drive SW                      )
Washington, D.C. 20024                  )
                                        )
              Defendant.                )
_______________________________________ )


                                       COMPLAINT

       This lawsuit is an action under the Freedom of Information Act, 5 U.S.C. §552, et seq.,

seeking production of records responsive to requests submitted by the Human Rights Defense

Center to the United States Park Police.


                                Jurisdiction and Venue


   1. This Court has both subject matter jurisdiction over this action and personal jurisdiction

       over the defendant under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. §§ 1331, 2201(a) and

       2202.


   2. Venue is appropriate in this Court under to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. §1391.
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                                         Parties


3. Plaintiff Human Rights Defense Center is a non-profit charitable organization

   incorporated in the state of Washington, with principal offices in Lake Worth Beach,

   Florida.


4. Defendant United States Park Police (“Park Police”) is a component of the United States

   National Park Service and an agency under 5 U.S.C. §552(f)(1) and 5 U.S.C. § 701.


                                          Facts


              Human Rights Defense Center’s Background and Mission


5. The Human Rights Defense Center (previously named Prison Legal News) has spent

   the last twenty-nine years dedicated to public education, prisoner education, advocacy,

   and outreach to support the rights of prisoners and to further basic human rights.


6. To accomplish its mission, HRDC gathers information from governmental entities

   around the country and publishes the information in its journals and on its websites.


7. HRDC publishes and distributes books, magazines, and other information containing

   news and analysis about prisons, jails and other detention facilities, prisoners’ rights,

   court rulings, management of prison facilities, prison conditions, and other matters

   about the rights and interests of incarcerated individuals.


8. HRDC publishes two magazines: Prison Legal News (PLN) and Criminal Legal News

   (CLN).
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9. PLN is a legal journal that reports news and litigation about carceral facilities. PLN has

   published monthly since 1990 and has around 9,000 subscribers in all 50 states. Based

   on reader survey results the estimated actual readership is around ten times that

   number. PLN’s subscribers include lawyers, journalists, judges, courts, public libraries

   and universities. PLN also maintains a website that receives around 100,000 visitors

   per month based on site analytics.


10. CLN is a legal journal launched in November, 2017. CLN reports on criminal law

   decisions from the states and federal systems, focusing on legal developments affecting

   the fact and duration of confinement. CLN also covers civil rights litigation against

   police, prosecutors, and court systems.


11. Through its publishing arm, HRDC also publishes books about the criminal justice

   system and legal issues affecting prisoners.


                              The United States Park Police


12. The Park Police was created in 1791, and is a law enforcement agency with jurisdiction

   in all federal parks.


13. The Park Police employs hundreds of officers, who have arrest authority in California,

   Maryland, New Jersey, New York, Virginia, and Washington D.C.


                                     Request at Issue


14. On December 12, 2018, HRDC sent to the Park Police via U.S. first class mail a FOIA

   request for records of litigation against the Park Police.
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15. Specifically, the December 12, 2018 FOIA request sought:


   “1. Records, regardless of physical form or characteristics, sufficient to show for all
   claims or lawsuits brought against the U.S. Park Police and/or any of its agents or
   employees in which payments totaling $1,000 or more were disbursed from January 1,
   2010 to the present:

       •   The name of all parties involved;

       •   The case or claim number;

       •   The jurisdiction in which the case or claim was brought (e.g., U.S. District
           Court for the District of Columbia, D.C. Superior Court, etc.);

       •   The date of resolution;

       •   The amount of money involved in the resolution and to whom it was paid.

   2. For each case or claim detailed above:

       •   The complaint or claim form and any amended versions;

       •   The verdict form, final judgment, settlement agreement, consent decree, or
           other paper that resolved the case.”

16. HRDC did not receive a response to the December 12, 2018 FOIA request.


17. On March 1, 2019 HRDC sent a FOIA request to the Park Police via the Department of

   the Interior’s online portal: https://www.doi.gov/foia/foia-request-form. This FOIA

   request asked for the same documents as the December 12, 2018 request.


18. HRDC’s FOIA requests also requested a fee waiver, as HRDC is a media organization.


19. On March 4, 2019, Ms. Charis Wilson, a FOIA Officer for the National Park Service,

   sent HRDC an email indicating that the March 1, 2019 FOIA request had been

   received, and was routed for processing.
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  20. No further information or communication from the Park Police, the National Park

      Service, or the Department of the Interior has been received by HRDC.


  21. HRDC never received a response to its FOIA requests to the Park Police.


                              HRDC’s Claim for Relief


  22. HRDC incorporates paragraphs 1 -22 by reference.


  23. The Park Police wrongly withheld documents responsive to HRDC’s properly

      submitted request.


  24. HRDC has a statutory right to the records it seeks, and there is no basis for the Park

      Police to withhold them.


  25. As a result, by failing to release the records specifically requested by HRDC, the Park

      Police has violated FOIA.


  26. HRDC has a legal right to the responsive documents.


                                    Requested Relief


HRDC therefore respectfully requests that this Court:


1. Declare that the records sought by HRDC are subject to FOIA;


2. Order the Park Police to disclose the requested records;


3. Award costs and attorney’s fees under 5 USC (a)(4)(E); and
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4. Grant such other relief as the Court may consider just and proper.




Date: May 23, 2019.



                            Respectfully submitted,



                            __________________
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                            (202) 630-0332 (cell)
                            D.C. Bar No. 470-578
